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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SOUROTH CHATTERJI,                               :       No. 2:18-cv-00199-CB
                                                 :
                Plaintiff,                       :       Electronically filed
                                                 :
       v.                                        :
                                                 :
CITY OF PITTSBURGH and ASSISTANT                 :       JURY TRIAL DEMANDED
CHIEF OF THE PITTSBURGH BUREAU                   :
OF POLICE LINDA BARONE,                          :
individually,                                    :
                                                 :
                Defendants.                      :

                             BRIEF IN OPPOSITION TO DEFENDANT
                             LINDA BARONE’S MOTION TO DISMISS

       Plaintiff Souroth Chatterji (“Officer Chatterji”), by his counsel, hereby files this Brief in

Opposition to Defendant Linda Barone’s (“Barone”) Motion to Dismiss Amended Complaint

Pursuant to Federal Rule of Civil Procedure 12(b)(6) (“Motion to Dismiss”) (Doc. 28) as follows:

I.     Introduction

       In 2015, Officer Chatterji—who is of Indian-descent—was ordered by former Chief of the

Pittsburgh Bureau of Police (the “PBP”) Cameron McClay (“Former Chief McLay”) and Chief of

Staff Commander Eric Holmes (“Chief of Staff Holmes”) to become part of a work group within

the PBP to audit the information technology systems it was utilizing. Pursuant to that audit, Officer

Chatterji reported to Former Chief McLay and Chief of Staff Holmes his good faith understanding

that the PBP had paid millions of dollars to B-Three Solutions, Inc. (“B-Three Solutions”) for

updates and upgrades to its information technology systems that the audit revealed were neither

completed nor implemented. Despite scoring and qualifying number one overall for a promotion

to the rank of sergeant in the PBP, Barone personally directed or influenced the decision that

Officer Chatterji not be promoted to sergeant.
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       As discussed in detail below, Barone’s personal involvement or influence—in her

supervisory positions as the Deputy Director of the Department of Public Safety, the Assistant

Chief of the Administration Bureau and the Assistant Chief of the PBP—over Officer Chatterji

not being promoted to sergeant was motivated either because of his race or national origin (Indian),

because of the audit, or both.

       First, Officer Chatterji is the only officer in the PBP, which is comprised of nearly 850

officers, whose national origin is Indian. He is also the only officer not promoted to sergeant after

qualifying number one overall for that promotion. Further, it is undisputed that he received

different treatment from other similarly-situated individuals because at least eight patrol officers—

none of whom are of Indian-descent—were promoted to sergeant over him despite scoring and

ranking lower than him for the promotion. In connection with Officer Chatterji not being promoted

to sergeant, Barone stated to the Director of the Department of Public Safety Wendell Hissrich

(“Hissrich”)1 that Officer Chatterji scored number one overall for that promotion only because he

was “Indian” and thus was given extra credit that “Americans” were not given. Barone also stated

to Hissrich that Officer Chatterji should not be promoted because of his incompetence which in

turn stemmed from his lack of understanding of “American ways.” Those facts as alleged in the

Amended Complaint reasonably demonstrate that Barone’s (or Hissrich’s) decision not to promote

Officer Chatterji to sergeant was motivated by intentional racial animus.

       The following facts also reasonably demonstrate that Barone’s (or Hissrich’s) decision not

to promote Officer Chatterji to sergeant was in retaliation for his making a good faith report of

waste to one of his superiors in connection with the PBP’s information technology systems:



1
 As discussed in detail in Officer Chatterji’s Brief in Opposition to the City’s Motion to Dismiss
(Doc. 26), Hissrich is one of two potential policymakers for promotions within the PBP for
Defendant City of Pittsburgh (the “City”). The other is Barone.
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              •       During and after the audit, Barone told Officer Chatterji, among other
                      things, that:

                      o      “if he kept digging into B-Three Solutions, it would lead to his ruin;”

                      o      “chiefs come and go,” referring to Former Chief McLay, and that he
                             would ultimately be the one that suffered for auditing B-Three
                             Solutions;

                      o      he is “done with the police department;”

                      o      he has “no future with the police department;” he “will never be
                             promoted;” and

                      o      he “should find another job;”

              •       On numerous occasions during the audit, officers under Barone’s direct
                      control and supervision and who were aligned with Barone, including
                      Officer Dawn Bowen (“Officer Bowen”) and Sergeant Anthony Cortopassi
                      (“Sergeant Cortopassi”), intimidated and pressured Officer Chatterji to
                      terminate the audit on her behalf, stating to Officer Chatterji, among other
                      things, that Former Chief McLay’s administration was negatively affecting
                      his “friends” at B-Three Solutions and that Officer Chatterji needed to stop
                      the audit, or he would suffer;2

              •       Prior to Former Chief McLay’s resignation, Officer Chatterji received the
                      highest attainable levels in his performance reviews with the PBP; after his
                      resignation, Officer Chatterji received lesser performance reviews than he
                      received in the past because Barone negatively influenced his career with
                      the PBP by using her position as both Assistant Chief of the PBP and
                      Deputy Director of the Department of Public Safety;

              •       Barone negatively influenced Officer Chatterji’s career by leveraging her
                      relationship with Hissrich against him;

              •       Barone terminated Officer Chatterji’s keycard access to the PBP’s
                      headquarters following Former Chief McLay’s resignation and terminated
                      Officer Chatterji’s involvement in all PBP projects run out of headquarters;

              •       Officer Chatterji was advised by his lieutenant in Zone 2 that Barone
                      ordered that he never speak about anything related to Barone or B-Three
                      Solutions again;


2
 It was during these occasions that Officer Chatterji was also called “sandn*****” and “Haji” and
told that no “brown person” like him should be promoted within the PBP.
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               •       Despite scoring number one overall in the PBP for promotion to the rank of
                       sergeant, Officer Chatterji was denied that promotion because of a baseless
                       investigation with the City’s Office of Municipal Investigations (“OMI”)
                       that Barone—who is the head of OMI—initiated against him;3

               •       Officer Chatterji learned that because of Barone’s influence and
                       intimidation tactics he did not even receive a recommendation for sergeant
                       despite scoring number one overall;

               •       Through numerous communications, in person and otherwise, Barone told
                       Hissrich not to promote Officer Chatterji because of the audit;

               •       On January 29, 2018, Barone ordered that Public Information Officer Alicia
                       George (“PIO George”) confront Officer Chatterji and tell him that his
                       career with the PBP would be ruined unless he cooperated with Barone,
                       which included signing a non-disclosure agreement relating to any
                       information he learned about her and B-Three Solutions during the audit;
                       and

               •       Barone continues to take overt steps to ruin Officer Chatterji’s career with
                       the PBP, including publicizing false and defamatory statements about
                       him—such as calling him a liar and being untruthful—directly and
                       indirectly threatening him, and attempting to discredit him by any means
                       necessary.
       As stated above, these facts reasonably demonstrate that Officer Chatterji was not

promoted to sergeant either because of Barone’s racial animus toward him, in retaliation for his

good faith report of waste, or both. Indeed, it is well-established that Officer Chatterji may plead

alternative or even inconsistent claims in the Amended Complaint. See F.R.C.P. 8(d)(2)-(3).

These facts thus reasonably state plausible claims for relief against Barone under the Equal

Protection Clause and Pennsylvania’s Whistleblower Law, 43 Pa.C.S.A. § 1421, et seq. (the

“Whistleblower Law”) and this Court should permit discovery on those claims. Therefore,

Barone’s Motion to Dismiss should be denied.




3
 As indicated above, Officer Chatterji also learned that Barone told Hissrich that he was not
promoted because of his incompetence due to his lack of understanding of “American ways.”
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II.    Standard of Review

       A complaint does not require “detailed factual allegations.” See Phillips v. County of

Allegheny, 515 F.3d 224, 231 (3d Cir. 2008) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007)); see also F.R.C.P. 8(a)(2).          “The touchstone of the pleading standard is

plausibility.” Bristrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” See Bristrian, 696 F.3d at 365 (citation

omitted); see also Thompson v. Real Estate Mort. Network, 748 F.3d 142, 147 (3d Cir. 2014)

(stating that a plaintiff “need only put forth allegations that raise a reasonable expectation that

discovery will reveal evidence of the necessary element”) (citations omitted). “[T]he facts alleged

must be taken as true and a complaint may not be dismissed merely because it appears unlikely

that the plaintiff can prove those facts or will ultimately prevail on the merits.” Phillips, 515 F.3d

at 231 (citation omitted).

III.   Argument

       Barone’s Motion to Dismiss reads more like an answer than it does a dispositive motion in

that—like an answer—it merely denies the Amended Complaint’s factual allegations and fails to

articulate why those facts do not state plausible claims for relief. To that end, Barone cherry-picks

legal conclusions and does not challenge the well-pleaded factual allegations from which those

legal conclusions may reasonably be inferred. Barone thus moves to dismiss Officer Chatterji’s

claim that she violated his rights under the Equal Protection Clause by simply stating that legal

conclusions alone cannot support that claim.           Barone—citing to the former definition of

“employer” under the Whistleblower Law—also moves to dismiss that claim on the sole basis that

she is not an “employer.” For the reasons that follow, both arguments fail.



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       A.      The Amended Complaint states a plausible claim for relief against Barone for
               depriving Officer Chatterji of his rights under the Equal Protection Clause
       To establish a denial of equal protection under 42 U.S.C. § 1983, a plaintiff must prove the

existence of purposeful discrimination—i.e., that he or she “received different treatment from that

received by other individuals similarly situated.” See Keenan v. City of Phila., 983 F.2d 459, 465

(3d. Cir. 1992) (citation omitted). “The elements of a valid § 1983 claim for denial of Equal

Protection based on intentional racial animus are that: (1) the plaintiff belongs to a protected class;

(2) the defendant acted under color of state law; and (3) the defendant treated plaintiff differently

because of his race.” Adams v. City of Greensburg, 2018 U.S. Dist. LEXIS 41688, *6-7 (W.D.

Pa. March 14, 2018) (citation omitted). “There are multiple ways for a plaintiff to prove such a

claim, including through race-based comments that reveal a discriminatory motive underlying an

adverse employment action.” Id. at *7 (citation omitted); see also Doe v. C.A.R.S. Prot. Plus, 527

F.3d 358, 368-69 (holding that discriminatory remarks provide background evidence that may be

critical to a jury’s determination of whether the decision-maker was more likely than not acting

out of a discriminatory motive) (3d Cir. 2008).

       Individual liability under the Equal Protection Clause requires “personal involvement.”

McCleester v. Mackel, 2008 U.S. Dist. LEXIS 27505, *27 (W.D. Pa. March 27, 2008) (citing Rode

v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988)). Personal involvement includes “allegations

of personal direction or of actual knowledge and acquiescence.” Id. (citations omitted); see also

Andrews v. Philadelphia, 895 F.2d 1469, 1478-80 (3d Cir. 1990) (affirming jury verdict finding

individual liability for violating employees’ Equal Protection right under § 1983 because evidence

established personal direction or actual knowledge and acquiescence). Personal involvement can

also include “proof of direct discrimination by the supervisor.” Andrews, 895 F.2d at 1478.




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          “Generally speaking, where a § 1983 action is brought by one public employee against

another person employed by the same entity, the alleged wrongdoer must occupy a supervisory

position over the plaintiff in order to act under color of state law.” Id. at *29 (citation omitted).

“The question of whether a particular individual holds a ‘supervisory position’ over another must

be answered by reference to the power that the individual actually holds, not by reference to his or

her formal job title.” Id. at *30 (citing Bonenberger v. Plymouth Township, 132 F.3d 20, 23 (3d

Cir. 1997) (stating that there is no distinction between a formal title and one who nonetheless

occupies that role). In determining whether a person hold a supervisory position, “a court must

consider whether the defendant could alter the plaintiff’s workload, or whether the plaintiff would

face internal charges of insubordination for failing to adhere to the defendant’s instructions.” Id.

at *30-31 (citing Zelinksi v. Pennsylvania State Police, 108 Fed.Appx. 700, 703 (3d Cir. 2004)).

“This issue of supervisory authority is a question of fact.” Id. (citation omitted) (emphasis

added).

          For all the reasons set forth in Officer Chatterji’s Brief in Opposition to the City’s Motion

to Dismiss, Barone obviously had supervisory authority over Officer Chatterji. Barone’s Motion

to Dismiss fails to address this issue. Nevertheless, to the extent Barone is deemed to have not

waived this issue, the facts alleged in the Amended Complaint demonstrate that Barone always

held a supervisory position over Officer Chatterji because she could control his workload, see Doc

15, Amended Complaint, ¶ 91, could order others to give Officer Chatterji orders, id. at ¶¶ 67-73,

79-80, 91, 94, 100 and 115-116, could influence Officer Chatterji’s performance reviews, id. at ¶

89, and could cause internal charges of insubordination to be lodged against Officer Chatterji for




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failing to adhere to her instructions, id. at ¶¶ 119-123. To be sure, Barone was arguably the

policymaker responsible for not to promoting Officer Chatterji to sergeant, id. at 79-87.4

       Moreover, Officer Chatterji was merely a patrol officer at the mercy of the PBP’s chain of

command, id. at ¶ 13. At various times, Barone used her position in the chain of command as a

Commander in the PBP to make direct and indirect threats to Officer Chatterji concerning his

employment, id. at ¶¶ 63-77.       At other times, Barone simultaneously held positions both

subordinate and supervisory to the Chief of the PBP, id. at ¶ 80, and similarly used those positions

to negatively influence and control Officer Chatterji’s employment, see e.g., id. at ¶¶ 88-94, 97-

103, 106-107, 115-116 and 120-123.

       Barone’s Motion to Dismiss also does not address the Amended Complaint’s detailed

factual allegations concerning her personal involvement in the decision not to promote Officer

Chatterji—a decision which is alleged to have been motivated by intentional racial animus toward

him.5 Consideration must be given to those allegations where Barone—as Assistant Chief of the

PBP, Deputy Director of the Department of Public Safety and Assistant Chief of the

Administration Bureau—is alleged to be the person responsible for not promoting Officer

Chatterji. And, factual allegations that Officer Chatterji, as the only officer in the PBP of Indian-

descent (out of nearly 850 officers), questioned and reported wasteful practices within the PBP




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  Barone also clearly exercised authority over him by stating that, among other things, “if he kept
digging into B-Three Solutions, it would lead to his ruin,” “chiefs come and go,” referring to
Former Chief McLay, and that he would ultimately be the one that suffered for auditing B-Three
Solutions, he is “done with the police department,” he has “no future with the police department;”
he “will never be promoted;” and he “should find another job,” id. at ¶¶ 64-65, 67-71 and 92.
5
  Barone’s entire argument to dismiss the Equal Protection Claim apparently centers on Innovative
Polymer Techs., LLC v. Innovation Works, Inc., 2018 U.S. Dist. LEXIS 58643 (W.D. Pa. April 6,
2018), which has no factual or legal similarities to this case. Innovative Polymer is nothing more
than a case dealing in part with the Equal Protection Clause. Innovative Polymer is at best
parenthetical support for Barone’s argument.
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directly relating to Barone, must also be considered. In that regard, this Court must accept the

following facts in the Amended Complaint as true, even if none of them are addressed in Barone’s

Motion to Dismiss:

              •       During the audit of the PBP’s information technology systems, suspicions
                      had arisen regarding Barone’s relationship with B-Three Solutions and her
                      role in providing B-Three Solutions with a sole source contract in 2006 that
                      allowed it to monopolize those systems, id. at ¶ 51;

              •       At all relevant times, Barone was aware that Officer Chatterji was auditing
                      B-Three Solutions, id. at ¶ 53;

              •       At all relevant times, Hissrich updated Barone on all progressions and
                      findings of the audit, id. at ¶ 55;

              •       Throughout the time that Officer Chatterji was auditing B-Three Solutions,
                      he was subject to various direct and indirect threats by Barone, id. at ¶ 63;

              •       On numerous occasions, officers under Barone’s direct control and
                      supervision and who were aligned with Barone intimidated and pressured
                      Officer Chatterji because of the audit, id. at ¶ 67;

              •       Barone had knowledge of and acquiesced in the way the officers under her
                      direct control and supervision went about intimidating and pressuring
                      Officer Chatterji to terminate the audit, id. at ¶ 68;

                      o      Those officers, in addition to Alexis Barone—Barone’s daughter—
                             called Officer Chatterji a “sandn*****” and “Haji,” id. at ¶ 72;

                      o      Those officers, in addition to Alexis Barone, discussed how no
                             “brown person” like Officer Chatterji should be promoted within the
                             PBP, id. at ¶ 73;

              •       Barone (and Hissrich) was made aware of these derogatory and racist
                      remarks about Officer Chatterji and not only failed to take any substantive
                      action to address or stop them from reoccurring, but also ratified such
                      remarks, id. at ¶¶ 74-75;

              •       Barone (and Hissrich) was made aware that at least one of those officers
                      continues to make derogatory and racist remarks about Officer Chatterji
                      through computer and internet chat rooms that are frequented by supervisors
                      and decisionmakers in the PBP by calling him “Muhammed” and “Chatter
                      Teeth,” and stating that Officer Chatterji cannot display his military service
                      to others because he is not “American,” id. at ¶¶ 76-77;

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    •     Following Former Chief McLay’s resignation, Barone caused Officer
          Chatterji to receive lesser performance reviews than he had in the past
          (which were always at the highest attainable levels), id. at ¶¶ 88-89;

    •     Following Former Chief McLay’s resignation, Barone terminated Officer
          Chatterji’s keycard access to the PBP’s headquarters, as well as all
          involvement he had with projects run out of headquarters, id. at ¶ 91;

    •     Officer Chatterji became the number one overall ranking candidate in the
          PBP for promotion to sergeant, id. at ¶¶ 95-96;

    •     On November 20, 2017, despite scoring number one overall, Officer
          Chatterji was told that Barone had ordered that he not be promoted to
          sergeant, id. at ¶ 97;

    •     No patrol officer within the PBP has scored number one overall and not
          been promoted to sergeant, id. at ¶ 98;

    •     Officer Chatterji learned that, because of Barone’s influence, he did not
          even receive a recommendation for sergeant, id. at ¶ 100;

    •     In connection with not receiving the promotion to sergeant, Barone told
          Hissrich and others that Officer Chatterji only scored number one overall
          because he was “Indian” and thus was given extra credit that “Americans”
          were not given, id. at ¶ 106;

    •     In connection with not receiving the promotion to sergeant, Barone told
          Hissrich and others that Officer Chatterji was not promoted because of his
          incompetence because of his lack of understanding of “American ways,” id.
          at ¶ 107;

    •     Hissrich adopted the racially discriminatory comments that Barone made
          about Officer Chatterji because he did not want an officer of Indian-descent
          questioning any decisions that had been or were being made by the City or
          the PBP, id. at ¶ 108;

    •     In addition to his being the only officer of Indian-descent in the PBP,
          Officer Chatterji is the first immigrant to serve in the PBP in over a decade,
          and the first ever immigrant officer of Indian-descent to rank number one
          overall for promotion to the rank of sergeant, id. at ¶¶ 109-112;

    •     On January 29, 2018, Barone ordered that Public Information Officer Alicia
          George (“PIO George”) confront Officer Chatterji about auditing B-Three
          Solutions and get him to sign a non-disclosure agreement or else his career
          be ruined, id. at ¶¶ 115-116;


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               •       As of May 2018, at least eight patrol officers were promoted to the rank of
                       sergeant that scored below Officer Chatterji, none of whom are of Indian-
                       descent, id. at ¶ 117; and

               •       Hissrich had authorized Barone—who oversees OMI as appointed by
                       Hissrich—to initiate a baseless OMI complaint against Officer Chatterji as
                       a means of discrediting him and providing a reason for not promoting him,
                       id. at ¶¶ 119-121.

       From all these facts it may reasonably be inferred that the decision not to promote Officer

Chatterji to sergeant was motivated by intentional discriminatory animus—whether because of the

simple fact that Officer Chatterji is of Indian-descent, because Barone did not want a patrol officer

of Indian-descent questioning her or the PBP, or both. These facts clearly detail Barone’s personal

involvement in the decision not to promote Officer Chatterji to sergeant. Certainly, this Court

cannot overlook the factual allegation that Barone admitted that Officer Chatterji was not promoted

to sergeant because of his incompetence due to his lack of understanding of “American ways.”

       At this early stage, these facts sufficiently allege how Barone was personally involved in

the decision not to promote Officer Chatterji and that her involvement in that decision was

motivated at least in part by his race or national origin. In addition to Barone’s statements or

admissions demonstrating racial animus—namely, Barone’s statements that Officer Chatterji only

scored number one overall because he was “Indian” and thus was given extra credit that

“Americans” were not given, and that he was not promoted due to his incompetence because of

his lack of understanding of “American ways”—this Court should not overlook the undisputed

fact that eight patrol officers that scored below Officer Chatterji were promoted to sergeant and

none of them were of Indian-descent. For all these reasons, this Court should deny Barone’s

Motion to Dismiss.




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       B.         The Amended Complaint states a plausible claim for relief against Barone
                  under the Whistleblower Law
       The gravamen of Officer Chatterji’s claim against Barone under the Whistleblower Law is

that she discriminated, threatened and/or or retaliated against him for making a good faith report

of waste of funds to his superiors in the PBP that implicated her involvement in that waste of funds.

Barone does not dispute the basis for this claim in her Motion to Dismiss. Instead, Barone—citing

to the former definition of “employer” under the Whistleblower Law—merely contends that

Officer Chatterji’s claim fails because she is not an “employer.” That argument misapprehends

the Whistleblower Law’s plain language of the amended definition of “employer,” which

obviously contemplates individual liability against employees of a public body or those individuals

who receive money from a public body to perform work or provide services.

       Under the Whistleblower Law:

       No employer may discharge, threaten or otherwise discriminate or retaliate against
       an employee regarding the employee’s compensation, terms, conditions, location
       or privileges of employment because the employee or a person acting on behalf of
       the employee makes a good faith report or is about to report, verbally or in writing,
       to the employer or appropriate authority an instance of wrongdoing or waste by a
       public body or an instance of waste by any other employer as defined in this act.
Id. at § 1423.6

       A “whistleblower” is defined as a “person who witnesses or has evidence of wrongdoing

or waste while employed and who makes a good faith report of the wrongdoing or waste, verbally

or in writing, to one of the person’s superiors, to an agent of the employer or to an appropriate

authority.” 43 Pa.C.S.A. § 1422 (emphasis added). “Waste” is defined as an “employer’s conduct

or omissions which result in substantial abuse, misuse, destruction or loss of funds or resources


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  “An employee alleging a violation of this act must show by a preponderance of the evidence that,
prior to the alleged reprisal, the employee or a person acting on behalf of the employee had reported
or was about to report in good faith, verbally or in writing, an instance of wrongdoing or waste to
the employer or an appropriate authority.” Id. at § 1424(b).
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belonging to or derived from Commonwealth or political subdivision sources.” Id. “Good faith

report” is defined as a “report of conduct defined in this act as wrongdoing or waste which is made

without malice or consideration of personal benefit and which the person making the report has

reasonable cause to believe is true.” Id.

       The Whistleblower Law plainly defines an “employer,” in part, as an “individual” who

“receives money from a public body to perform work or provide services relative to the

performance of work for or the provision of services to a public body.” Id. (emphasis added).

The definition of “public body” include cities and its departments. Id. The definition of “public

body” also includes “[a]ny other body which is created by … political subdivision authority … or

employee of that body.” Id. (emphasis added).

       As stated above, Barone’s Motion to Dismiss only challenges whether she is an “employer”

under the Whistleblower Law. The Whistleblower Law clearly establishes that an “employer”

includes city employees or employees of any other body that is created by a political subdivision.

See 42 Pa.C.S.A. § 1422. That Law also clearly establishes that individuals (like Barone) who

receive money from a public body (like the City) to perform work or provide services to that public

body, may not threaten or otherwise discriminate or retaliate against an employee (like Officer

Chatterji) for making a good faith report of waste. See 43 Pa.C.S.A. §§ 1422 and 1423; see also

Bailets v. Pa. Tpk. Comm’n, 123 A.3d 300 (Pa. 2015) (reversing summary judgment that was

granted to Pennsylvania Turnpike Commission and related officials who were sued in their

individual capacities); Bifano v. Waymart Borough, 2016 U.S. Dist. LEXIS 177147, *37-44 (M.D.

Pa. Dec. 22, 2016) (denying motion to dismiss whistleblower claim because factual allegations in

complaint raised sufficient inferences that plaintiffs were retaliated against by borough and police

chief for making good faith reports of waste, in violation of the whistleblower law).



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       Barone undoubtedly received money from the City to perform work or provide services to

it in her capacities as Commander, Assistant Chief of the PBP, Deputy Director of the Department

of Public Safety and Assistant Chief of the Administration Bureau, see Doc. 15, ¶ 9. Also, Barone

is clearly an employee of the City and the PBP, which are public bodies. See id. It should be

beyond factual debate at this early stage that Barone—in her various capacities as Commander,

Assistant Chief of the PBP, Deputy Director of the Department of Public Safety and Assistant

Chief of the Administration Bureau—threatened, retaliated and otherwise discriminated against

Officer Chatterji for making a good faith report of waste to his superiors in the PBP:

               •      In early 2015, Officer Chatterji was transferred to the PBP’s headquarters
                      to work with Former Chief McLay and Chief of Staff Holmes as part of a
                      work group to explore how the PBP could upgrade its information
                      technology systems, id. at ¶ 14;

               •      As part of this work group, Officer Chatterji was ordered by Former Chief
                      McLay to audit the information technology systems being utilized by the
                      PBP and to report all results of the audit to him and Chief of Staff Holmes,
                      id. at ¶ 15;

               •      As the audit progressed, around October 2015, Former Chief McLay and
                      Chief of Staff Holmes tasked Officer Chatterji with gathering information
                      on a new “Report Management System” (known as an “RMS System”) and
                      an update to the computer-aided dispatch system (known as a “CAD
                      System”) being used by the PBP, id. at ¶ 16;

               •      Specifically, Former Chief McLay and Chief of Staff Holmes tasked Officer
                      Chatterji with gathering information on RMS and CAD Systems that had
                      been created by TriTech Software Systems, formerly known as Tiburon
                      (“Tiburon”), id. at ¶ 17;

               •      Former Chief McLay and Chief of Staff Holmes also tasked Officer
                      Chatterji with gathering information on the National Crime Information
                      Center terminal (known as “NCIC”) and the RMS System that was already
                      being used by the PBP, which included an NCIC terminal that had been
                      created by Motorola Premier and an RMS System called the Automated
                      Police Reports System (known as “APRS”) that had been created by B-
                      Three Solutions, id. at ¶ 18;



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              •       The purpose of the audit was two-fold: (i) compare the PBP’s current RMS
                      System, APRS by B-Three Solutions, with the Tiburon RMS System, and
                      (ii) compare the PBP’s current NCIC terminal, created by Motorola
                      Premier, which worked in conjunction with the APRS, with the upgraded
                      Tiburon CAD System, id. at 19;

              •       The goal was to audit the PBP’s information technology systems for areas
                      of improvement in data collection and automation, id. at ¶ 20;

              •       Through the audit, Officer Chatterji learned and reported information to
                      Former Chief McLay and Chief of Staff Holmes that, among other things:

                      o      the updated CAD system could be updated for free and had a
                             significantly higher level of functionality than the version that was
                             being used by the PBP, and was compatible with Tiburon’s RMS
                             System, which had a significantly higher level of functionality than
                             the RMS System by B-Three Solutions, id. at ¶ 21;

                      o      the Tiburon RMS System was compliant with the National Incident-
                             Based System (“NIBRS”), which is an incident-based reporting
                             system used by law enforcement agencies in the United States for
                             collecting and reporting crime data, id. at ¶ 22, while the APRS by
                             B-Three Solutions was neither NIBRS compliant nor usable for
                             accurate crime data reporting, id. at ¶ 23;7

                      o      the system that B-Three Solutions had implemented for producing
                             documentation for an officer’s daily activities (known as “daily
                             activity sheets”) was comprised of multiple screen shots only and no
                             source code, id. at ¶ 29, meaning that officer’s daily activities could
                             not be automated into daily activity sheets, id. at ¶¶ 30-31;

                      o      the PBP paid $110,000 to B-Three Solutions to automate the daily
                             activity sheets in 2014, which was still not functional as of the date
                             of the audit, id. at ¶ 32;

                      o      in 2012, the PBP paid B-Three Solutions $150,000 to automate and
                             standardize the chain of custody process for property and evidence
                             seized by the PBP through a system known as “Evidence
                             Barcoding,” but that system was never implemented, id. at ¶¶ 35-
                             36;



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  Officer Chatterji learned and reported that the Tiburon RMS System not only provided an
obviously better cost-point for the PBP, but that it also significantly increased officer safety
through automation and interfaced with law enforcement on a national basis. Id. at ¶ 24.
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          o      in 2011, the PBP paid B-three Solutions $75,000 to automate and
                 streamline the “Confidential Report Systems,” but it was never
                 automated, id. at ¶¶ 37-39;

          o      the PBP was paying B-Three Solutions $300,000 per year for annual
                 software maintenance which would have been free from a different
                 RMS provider, id. at ¶ 40;

          o      B-Three Solutions was charging the PBP separately for matters that
                 ordinarily would have been included in a subscription for annual
                 software maintenance, id. at ¶ 41;

          o      in total, the PBP had paid B-Three Solutions over $1,000,000 for
                 technology upgrades and updates that were either not completed,
                 could have been performed by other companies at much lower cost
                 (if not for free), or were inferior in comparison to industry standards,
                 id. at ¶ 42;

    •     because of the information revealed through the audit, suspicions arose
          around Barone and her relationship with B-Three Solutions because of her
          role in providing B-Three Solutions with a sole source contract in 2006 that
          allowed it to monopolize the PBP’s information technology systems, id. at
          ¶ 51-52;

    •     at all relevant times, Barone was aware that she and B-Three Solutions were
          being audited/investigated, id. at ¶ 53;

    •     the Director of the Department of Public Safety, Wendell Hissrich
          (“Hissrich”), who subsequently appointed Barone to her decision-making
          positions within the PBP, id. at ¶ 79, kept Barone apprised on all
          progressions and findings of the audit so that she could retaliate against
          Officer Chatterji for the audit, id. at ¶ 55;

    •     at all relevant times, Hissrich and Barone were aware that technology
          upgrades and updates by B-Three Solutions were either not completed,
          could have been performed by other companies at much lower cost (if not
          for free), or were inferior in comparison to industry standards, id. at ¶ 56;

    •     following the audit of B-Three Solutions, numerous decisionmakers for the
          City admitted the accuracy of Officer Chatterji’s findings, including
          Hissrich, id. at ¶ 60;




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    •     following the audit, the City’s Council passed a resolution changing the way
          requests for proposals are received and analyzed by the City, intending not
          to allow companies like B-Three Solutions to obtain monopolies over the
          City’s contracts and services, such as the one that Barone provided to B-
          Three Solutions, id. at ¶ 61;

    •     this change was a direct result of the findings from the audit, id. at ¶ 62;

    •     throughout the time that Officer Chatterji was auditing B-Three Solutions
          and after the audit was stopped, he was subjected to various direct and
          indirect threats by Barone, including:

          o      during one meeting, Barone told Officer Chatterji that “if he kept
                 digging into B-Three Solutions, it would lead to his ruin,” id. at ¶
                 64;

          o      Barone told Officer Chatterji that “chiefs come and go,” referring to
                 Former Chief McLay, and that he would ultimately be the one that
                 suffered for auditing B-Three Solutions, id. at ¶ 65;

          o      on numerous occasions, officers under Barone’s direct control and
                 supervision and who were aligned with Barone intimidated and
                 pressured Officer Chatterji to terminate the audit on her behalf,
                 stating to Officer Chatterji, among other things, that Former Chief
                 McLay’s administration was negatively affecting their “friends” at
                 B-Three Solutions and that Officer Chatterji needed to stop the
                 audit, or he would suffer, id. at ¶¶ 67-71;

          o      after the audit, Barone told Officer Chatterji that he is “done with
                 the police department,” he has “no future with the police
                 department,” he “’will never be promoted,” and he “’should find
                 another job,” id. at ¶ 92;

    •     in 2017, Officer Chatterji became the number one overall qualified
          candidate for promotion to sergeant in the PBP, id. at ¶ 95-96;

    •     in her simultaneous positions as the Deputy Director of the Department of
          Public Safety, Assistant Chief of the PBP and Assistant Chief of the
          Administration Bureau, Barone is the second highest ranking official in the
          PBP, after Hissrich. Id. at 79-87;

    •     on November 20, 2017, despite scoring number one overall, Barone ordered
          that Officer Chatterji not be promoted to sergeant because of a baseless
          investigation that she had initiated with OMI against Officer Chatterji with
          respect to the audit, id. at ¶ 97;


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    •     no patrol officer within the PBP has scored number one overall and not been
          promoted to sergeant, id. at ¶ 98, and officers within the PBP who have been
          under investigation by OMI, even for meritorious claims, have been
          promoted if they otherwise qualified for that promotion, id. at ¶ 99;

    •     as of May 2018, least eight patrol officers were promoted to the rank of
          sergeant that scored below Officer Chatterji, id. at ¶ 117;

    •     Barone either personally directed or directly influenced the decision not to
          promote Officer Chatterji based on the following factual circumstances,
          among others:

          o      prior to Former Chief McLay’s resignation, Officer Chatterji
                 received the highest attainable levels in his performance reviews
                 with the PBP; after his resignation, Officer Chatterji received lesser
                 performance reviews than he received in the past because Barone
                 negatively influenced his career with the PBP by using her position
                 as both Assistant Chief of the PBP and Deputy Director of the
                 Department of Public Safety, id. at ¶¶ 88-89;

          o      Barone negatively influenced Officer Chatterji’s career by
                 leveraging her relationship with Hissrich against him, id. at ¶ 90;

          o      Barone terminated Officer Chatterji’s keycard access to the PBP’s
                 headquarters following Former Chief McLay’s resignation and
                 terminated Officer Chatterji’s involvement in all PBP projects run
                 out of headquarters, id. at ¶ 91;

          o      Officer Chatterji was advised by his lieutenant in Zone 2 that Barone
                 ordered that he never speak about anything related to Barone or B-
                 Three Solutions again, id. at ¶ 94;

          o      Barone ordered that Officer Chatterji not be promoted to sergeant
                 because of a baseless investigation that she had initiated against
                 Officer Chatterji with the Office of Municipal Investigations
                 (“OMI”)—an office within the City that she manages and
                 supervises, id. at ¶¶ 85-86 and 97;

          o      Officer Chatterji learned that because of Barone’s influence and
                 intimidation tactics he did not even receive a recommendation for
                 sergeant despite scoring number one overall, id. at ¶ 100;

          o      through numerous communications, in person and otherwise,
                 Barone told Hissrich not to promote Officer Chatterji because of the
                 audit, id. at ¶ 103;


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                       o       On January 29, 2018, Barone ordered that Public Information
                              Officer Alicia George (“PIO George”) confront Officer Chatterji
                              and tell him that his career with the PBP would be ruined unless he
                              cooperated with Barone, which included signing a non-disclosure
                              agreement relating to any information he learned about her and B-
                              Three Solutions during the audit, id. at ¶ 116; and

                       o      Barone continues to take overt steps to ruin Officer Chatterji’s
                              career with the PBP, including publicizing false and defamatory
                              statements about him—such as calling him a liar and being
                              untruthful—directly and indirectly threatening him, and attempting
                              to discredit him by any means necessary, id. at ¶¶ 121-123.

       This Court must accept all these facts as true at this early stage. All these facts, as stated

above, clearly demonstrate that Barone—at various times as an employee of the City and the

PBP—threatened, retaliated and otherwise discriminated against Officer Chatterji for making a

good faith report of waste to his superiors in the PBP. At a minimum, even without the benefit of

discovery, it may reasonably be inferred from these facts that Barone violated Officer Chatterji’s

rights under the Whistleblower Law.

        The only case cited by Barone to support the dismissal of this claim is her unfounded

reliance on Retenauer v. Flaherty, 642 A.2d 587 (Pa. Cmmw. 1994). Retenauer is readily

distinguishable for at least two glaring reasons. First, Retenauer was analyzed under the former

definition of “employer.” See id. at 591 (citing the Whistleblower Law’s definition of “employer”

as “[a] person supervising one or more employees, including the employee in question; a superior

of that supervisor; or an agent of public body”). As cited above, “employer” is defined in part as

an “individual” who “receives money from a public body to perform work or provide services

relative to the performance of work for or the provision of services to a public body.” 43 Pa.C.S.A.

§ 1422 (emphasis added); see also Amendment Notes to 43 Pa.C.S.A. § 1422 (stating that the 2014

amendment by Act 2014-87 rewrote the definition of “Employer”). “Employer” is also defined as

a “public body,” which is defined in part as “[a]ny other body which is created by … political

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subdivision authority … or employee of that body.” See id. Under these definitions, Barone is

easily considered an “employer” under the Whistleblower Law.

       And second, the decision in Retenauer was about indemnification and the payment of a

money judgment against an individual public employee who a jury found liable for violating the

Whistleblower Law. Indeed, the jury in Retenauer returned a verdict in favor of the plaintiff

employee and against City of Pittsburgh officials and the subsequent legal question on appeal in

that case was merely determining who was going to pay that verdict to the plaintiff employee. Id.

at 589-90. That is simply not the issue here.

       Barone does not cite Bailets v. Pa. Tpk. Comm’n, 123 A.3d 300 (Pa. 2015), which is a

summary judgment case concerning the Whistleblower Law that is analogous and instructive for

this Court. In Bailets, the plaintiff was employed by the Pennsylvania Turnpike Commission from

1998 to 2008 and, during that time, complained frequently about improprieties and wasteful

practices that he observed including—among other things—those relating to the Commission’s

computer systems contract with a third-party vendor. 123 A.3d at 301. There, the plaintiff

complained to a supervisor and a co-worker (who later became his superior) about these wasteful

practices and the deficiencies in the performance of the computer system and that a contracted-for

knowledge transfer of the computer systems never occurred. Id. at 301-02. During that time, the

supervisor and co-worker told the plaintiff that “[he] should not say anything about it,” warned

him “not to make waves or [his] job will be in jeopardy,” and told him to “tread lightly.” Id.

(internal quotations omitted). In June 2008, the plaintiff’s job title and responsibilities were

changed, and he was removed from an additional position he had held. Id. He was terminated in

November 2008 and thereafter filed suit against the Commission and the two individuals to whom

he reported.



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       Ultimately, the Pennsylvania Supreme Court in Bailets rejected the defendants’ argument

that there was no causal connection between the plaintiff’s initial report in March 2007 and his

termination in November 2008. Id. at 306. The Court thus denied summary judgment to the

defendants—including the individual defendants. Id. at 310. The Court subsequently upheld the

Commonwealth Court’s order entering judgment on a $3.2 million verdict in favor of the plaintiff.

See Bailets v. Pa. Tpk. Comm’n, 2018 Pa. LEXIS 1498 (Pa. March 27, 2018).

       Here, like in Bailets, the facts alleged in the Amended Complaint demonstrate that Officer

Chatterji reported in good faith his belief that the City was engaging in wasteful practices

concerning the information technology systems being used by the PBP, that Barone directly or

indirectly threatened and discriminated against him for making those reports, and that Barone

ultimately caused him to suffer an adverse employment action because of the reports. The obvious

inference from the Amended Complaint’s factual allegations is that Barone violated Officer

Chatterji’s rights under the Whistleblower Law. Officer Chatterji should thus be permitted to

conduct discovery over his claim against Barone and this Court should deny her Motion to

Dismiss.

IV.    Conclusion

       The facts alleged in the Amended Complaint reasonably state plausible claims for relief

against Barone for violating Officer Chatterji’s rights under the Equal Protection Clause and the

Whistleblower Law and, because of that, this Court should deny Barone’s Motion to Dismiss and

allow this case to proceed to discovery.




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                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served this 25th day of

July 2018 via this Court’s CM/ECF electronic filing system upon all counsel of record.



                                                             /s/ Alec B. Wright
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                                                             Counsel for Plaintiff




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